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IN THE U'NITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENN'ESSEE
WESTERN DIVISION

04/20/2005

CASE NO: 04-20256-M1

USA VS. LADARIUS G. TAYLOR

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US DISTRICT COURT

